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                                                                                                 1   SQUIRE PATTON BOGGS (US) LLP
                                                                                                     Frank L. Bernstein (SBN: 189504)
                                                                                                 2   frank.bernstein@squirepb.com
                                                                                                     Tamara D. Fraizer (SBN: 215942)
                                                                                                 3   tamara.fraizer@squirepb.com
                                                                                                 4
                                                                                                     1841 Page Mill Road, Suite 150
                                                                                                     Palo Alto, CA 94304
                                                                                                 5   Telephone: (650) 856-6500
                                                                                                     Facsimile: (650) 843-8777
                                                                                                 6
                                                                                                     Hannah Makinde (SBN: 307907)
                                                                                                 7   hannah.makinde@squirepb.com
                                                                                                     555 South Flower Street, 31st Floor
                                                                                                 8   Los Angeles, CA 90071
                                                                                                     Telephone: (213) 624-2500
                                                                                                 9   Facsimile: (213) 623-4581
                                                                                                10   Christopher Lorenzo Lewis (pro hac vice pending – OH SBN: 100158)
                                                                                                     chris.lewis@squirepb.com
SQUIRE PATTON BOGGS (US) LLP




                                                                                                11   1000 Key Tower, 127 Public Square
                                                                                                     Cleveland, OH 44114
                               1841 Page Mill Road, Suite 150




                                                                                                12
                                                                Palo Alto, California 94304




                                                                                                     Telephone: (216) 479-8500
                                                                                                13   Facsimile: (216) 479-8780
                                                                                                14   Attorneys for Defendant Southern California
                                                                                                15   Design Company

                                                                                                16                         UNITED STATES DISTRICT COURT
                                                                                                17                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                18
                                                                                                     TAYLOR MADE GOLF                        Case No. 3:24-cv-0212-AGS-VET
                                                                                                19   COMPANY, INC.,
                                                                                                                                             MEMORANDUM OF POINTS AND
                                                                                                20                  Plaintiff,               AUTHORITIES BY DEFENDANT
                                                                                                                                             SOUTHERN CALIFORNIA
                                                                                                21         v.                                DESIGN COMPANY IN SUPPORT
                                                                                                22                                           OF ITS MOTION TO DISMISS FOR
                                                                                                     COSTCO WHOLESALE CORP.,                 FAILURE TO STATE A CLAIM
                                                                                                23   and SOUTHERN CALIFORNIA                 UNDER FED. R. CIV. P. 12(b)(6)
                                                                                                     DESIGN COMPANY d/b/a INDI
                                                                                                24   GOLF ,                                  Hearing: May 3, 2024
                                                                                                25
                                                                                                                                             Time:    2:30 p.m.
                                                                                                                    Defendants.              Courtroom      5C
                                                                                                26                                           Judge: Hon. Andrew G. Schopler
                                                                                                27

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                                                                                                                                                         MEMO ISO MOTION TO DISMISS FOR
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                                                                                                 1         Defendant Southern California Design Company (“SCDC”) respectfully
                                                                                                 2   submits the following memorandum of points and authorities in support of its motion
                                                                                                 3   to dismiss the Complaint for Patent Infringement and False Advertising (hereinafter
                                                                                                 4   “Complaint”) by Taylor Made Golf Company, Inc. (“Taylor Made”) as to SCDC,
                                                                                                 5   including all identified counts, for failure to state a claim under Fed. R. Civ. P.
                                                                                                 6   12(b)(6).
                                                                                                 7   I.    INTRODUCTION
                                                                                                 8         Taylor Made accuses each of Costco Wholesale Corp. (“Costco”) and SCDC
                                                                                                 9   of infringing U.S. Patents Nos. RE47,653; 10,953,293; 11,351,426; 11,420,097; and
                                                                                                10   11,559,727 under 35 U.S.C. § 271(a) by allegedly “making, using, selling and/or
                                                                                                     offering to sell…, and/or importing ”1 Kirkland Signature® “Players Iron” golf clubs
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                                                                                                11
                                                                                                     (the “accused products”). Taylor Made supports its claims against Costco with
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                                                                                                13   relatively specific factual allegations, such as its allegations that Costco made sales
                                                                                                14   of the accused product through its website by December 2023. Complaint, Dkt. No.
                                                                                                15   1, ¶34. Taylor Made’s accusations that SCDC infringed the asserted patents are, in
                                                                                                16   comparison and by any measure, threadbare and insufficient to state a claim.
                                                                                                17         Taylor Made’s Complaint states that SCDC infringes the asserted patents by
                                                                                                18   manufacturing the accused products and selling them to Costco.2 But the only factual
                                                                                                19   allegation regarding SCDC’s purported manufacturing is an unspecified “previous”
                                                                                                20   USGA listing that (oddly) included the brand name “Indi Golf” (not SCDC) as the
                                                                                                21   listed “manufacturer” of the accused products. Complaint, Dkt. No. 1, ¶36. As
                                                                                                22   explained further below, this allegation does not provide a plausible basis to infer
                                                                                                23   that SCDC manufactured the accused products. The remainder of Taylor Made’s
                                                                                                24   allegations are conclusory or based on “information and belief” and unsupported by
                                                                                                25

                                                                                                26   1
                                                                                                       This and similar language elsewhere in the Complaint is said to apply to “each
                                                                                                27   Defendant” for each asserted patent. See Complaint, Dkt. No. 1, ¶¶41, 53, 59, 65,
                                                                                                     71, 77.
                                                                                                28   2
                                                                                                       See, e.g., Complaint, Dkt. No. 1, ¶¶11, 36, 37.
                                                                                                                                                             MEMO ISO MOTION TO DISMISS FOR
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                                                                                                 1   any alleged facts. There is therefore nothing in the Complaint to support a plausible
                                                                                                 2   inference that SCDC performed any of the alleged acts of patent infringement, let
                                                                                                 3   alone did so willfully.
                                                                                                 4         The same is true for Taylor Made’s claims that SCDC made statements
                                                                                                 5   constituting false advertising. In support of its false advertising claims, Taylor Made
                                                                                                 6   identifies allegedly false statements on Costco’s website that were indicated to have
                                                                                                 7   been provided by “the manufacturer,” but it alleges nothing about SCDC. Taylor
                                                                                                 8   Made’s false advertising claim against SCDC rests entirely on the assumption that
                                                                                                 9   SCDC is the manufacturer of the accused products. As noted above, there is nothing
                                                                                                10   in the Complaint that would support a plausible inference that SCDC is the
                                                                                                     manufacturer of the accused products.
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                                                                                                           By law, to state a claim for relief under Federal Rule of Civil Procedure
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                                                                                                13   12(b)(6), Taylor Made must allege facts — not mere legal conclusions or threadbare
                                                                                                14   recitals of the elements of the asserted claims — that are sufficient to raise the right
                                                                                                15   to relief above the speculative level. It has not done so. Moreover, and as
                                                                                                16   demonstrated by the accompanying Declaration of Robert Lang, CEO of SCDC
                                                                                                17   (“Lang Declaration”), ¶¶1-21, Taylor Made could not do so.
                                                                                                18         The claims against SCDC should be dismissed.
                                                                                                19   II.   ARGUMENT
                                                                                                20         A.     Legal Standards
                                                                                                21
                                                                                                           Pleadings in civil cases do not require “heightened fact pleading of specifics,”
                                                                                                22
                                                                                                     but they do require the pleading of “enough facts to state a claim to relief that is
                                                                                                23
                                                                                                     plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)
                                                                                                24
                                                                                                     (emphasis added). The facts as pled must permit the court to infer “more than the
                                                                                                25
                                                                                                     mere possibility of misconduct.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (citing
                                                                                                26
                                                                                                     Twombly, 550 U.S. at 570) (emphasis added).
                                                                                                27

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                                                                                                                                                             MEMO ISO MOTION TO DISMISS FOR
                                                                                                                                                 2                 FAILURE TO STATE A CLAIM
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                                                                                                 1          “A pleading that offers ‘labels and conclusions’ or a ‘formulaic recitation of
                                                                                                 2   the elements of a cause of action will not do.’” Iqbal, 556 U.S. at 678 (citing Twombly,
                                                                                                 3   550 U.S. at 555). Under Iqbal/Twombly, pleadings containing mere conclusory
                                                                                                 4   statements are not entitled to a presumption of truth. Chavez v. United States, 683
                                                                                                 5   F.3d 1102, 1108 (9th Cir. 2012) (“[C]onclusory statements, which are not entitled to
                                                                                                 6   the presumption of truth, [are discounted] before determining whether a claim is
                                                                                                 7   plausible.”).
                                                                                                 8          “To survive a motion to dismiss, a complaint must contain sufficient factual
                                                                                                 9   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal,
                                                                                                10   556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). A claim is plausible when there
                                                                                                     is “factual content that allows the court to draw the reasonable inference that the
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                                                                                                     defendant is liable for the misconduct alleged.” Id. Unless the plaintiff has pleaded
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                                                                                                13   “enough facts to state a claim for relief that is plausible on its face,” and thereby
                                                                                                14   “nudged its claims . . . across the line from conceivable to plausible,” the complaint
                                                                                                15   “must be dismissed.” Twombly, 550 U.S. at 570.
                                                                                                16          A claim for direct patent infringement requires that a party has committed acts
                                                                                                17   of infringement, namely, that the party allegedly “makes, uses, offers to sell, or sells
                                                                                                18   [the] patented invention, within the United States or imports into the United States”
                                                                                                19   without authority. 35 U.S.C. § 271(a). Claims for direct patent infringement are
                                                                                                20   subject to the pleading standards established in Twombly/Iqbal. See, e.g., N. Star
                                                                                                21   Innovations, Inc. v. Etron Tech. Am. Inc., No. 16-cv-00599, 2016 WL 9046909, at
                                                                                                22   *3 (C.D. Cal. Sept. 21, 2016) (“Thus, in patent cases, with regard to a direct
                                                                                                23   infringement claim, a court need not accept as true conclusory legal allegations cast
                                                                                                24   in the form of factual allegations.” (internal quotations omitted)).
                                                                                                25          Material outside the pleadings, such as a sworn declaration, may properly be
                                                                                                26   considered on a motion to dismiss, with the motion to dismiss being converted into
                                                                                                27   one for summary judgment pursuant to Fed. R. Civ. P. 56. Tanner v. Heise, 879 F.2d
                                                                                                28   572, 576 (9th Cir. 1989); Henson v. Air Nat. Guard Air Force Rsrv. Command Test
                                                                                                                                                                 MEMO ISO MOTION TO DISMISS FOR
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                                                                                                 1   Ctr., No. 06-cv-00526, 2007 WL 2903993, at *6–7 (D. Ariz. 2007) (adopting report
                                                                                                 2   and recommendation converting defendant’s motion to dismiss supported by
                                                                                                 3   evidence from outside the pleadings including declarations to a motion for summary
                                                                                                 4   judgment.); Sewald v. Pyatt & Silvestri, Chtd, 161 F. Supp. 2d 1074, 1076 n.1 (N.D.
                                                                                                 5   Cal. 2001) (“As it relies on matters outside the pleadings, defendant’s [Rule 12(b)(6)]
                                                                                                 6   motion is converted into a Rule 56 motion for summary judgment.”); Bell Atl. Bus.
                                                                                                 7   Sys. Servs. v. Hitachi Data Sys. Corp., 849 F. Supp. 702, 704 (N.D. Cal. 1994) (“If
                                                                                                 8   parties present matters outside the pleadings, and the court is willing to consider those
                                                                                                 9   matters, the court should convert the motion to a motion for summary judgment. . . .
                                                                                                10   The parties before the Court have gone beyond the ‘four corners’ of the pleadings by
                                                                                                     submitting declarations and additional facts. . .. Accordingly, the Court will consider
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                                                                                                     Defendants’ motions as motions for summary judgment.”).
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                                                                                                13         B.      Taylor Made’s Complaint Fails to Plead any Claim of Patent
                                                                                                14                 Infringement by SCDC
                                                                                                15         Taylor Made’s Complaint against SCDC is based on the mistaken and
                                                                                                16   unfounded allegation that SCDC manufactures the accused products and sells them
                                                                                                17   to Defendant Costco. Because the Complaint fails to identify any plausible basis for
                                                                                                18   these alleged acts and, moreover, could not possibly do so — as demonstrated by the
                                                                                                19   Declaration of Robert Lang and the pleadings — the claims against SCDC should be
                                                                                                20   dismissed.
                                                                                                21
                                                                                                                   1.    Conclusory Statements of Infringement Are Insufficient as a
                                                                                                22                       Matter of Law
                                                                                                23
                                                                                                           The Complaint contains the following conclusory allegations, which are
                                                                                                24
                                                                                                     insufficient as a matter of law:
                                                                                                25
                                                                                                            Costco and SCDC have each directly infringed and continue to
                                                                                                26
                                                                                                                directly infringe, the asserted patents under 35 U.S.C. § 271(a) by
                                                                                                27
                                                                                                                making, using, selling and/or offering to sell, in this District and
                                                                                                28
                                                                                                                                                              MEMO ISO MOTION TO DISMISS FOR
                                                                                                                                                 4                  FAILURE TO STATE A CLAIM
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                                                                                                 1             elsewhere in the United States, and/or importing into this District
                                                                                                 2             and elsewhere in the United States, the accused products, that is the
                                                                                                 3             Kirkland Signature® irons. Complaint, Dkt. No. 1, ¶41.
                                                                                                 4          [E]ach Defendant has directly infringed and continues to directly
                                                                                                 5             infringe, literally or under the doctrine of equivalents, one or more
                                                                                                 6             of the claims of the [specified] patent by, among other things,
                                                                                                 7             making, using, selling, offering to sell, and/or importing the accused
                                                                                                 8             products that practice the [specified] patent claims without
                                                                                                 9             permission in violation of 35 U.S.C. § 271(a). Complaint, Dkt. No.
                                                                                                10             1, ¶¶53, 59, 65, 71, 77.
                                                                                                            On information and belief, Defendants have made, used, sold,
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                                                                                                               offered to sell, imported and/or encouraged the making, using,
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                                                                                                13             selling, offering to sell, or importing of the accused products despite
                                                                                                14             knowing of an objectively high likelihood that their actions
                                                                                                15             constituted infringement of the asserted patents at all times relevant
                                                                                                16             to this suit. Complaint, Dkt. No. 1, ¶43.
                                                                                                17          Defendants’ infringement of the asserted patents has been willful.
                                                                                                18             Complaint, Dkt. No. 1, ¶44.
                                                                                                19         The above allegations are nothing more than “labels and conclusions,”
                                                                                                20   “formulaic recitation of the elements of a cause of action,” and “naked assertion[s]
                                                                                                21   devoid of further factual enhancement.” Iqbal, 556 U.S. at 678 (internal citations
                                                                                                22   omitted). These allegations are merely conclusory recitations of the elements of
                                                                                                23   direct and willful infringement. Such conclusory allegations are not entitled to a
                                                                                                24   presumption of truth, and are not sufficient to establish that Taylor Made is plausibly
                                                                                                25   entitled to relief. Iqbal, 556 U.S.at 678; Chavez, 683 F.3d at 1108.
                                                                                                26         Accordingly, insofar as Taylor Made’s conclusory statements of patent
                                                                                                27   infringement are the basis for any of its claims of patent infringement, all such claims
                                                                                                28   — including its claims of willful patent infringement — must be dismissed.
                                                                                                                                                              MEMO ISO MOTION TO DISMISS FOR
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                                                                                                1                2.    Allegations “On Information and Belief” that SCDC Sells the
                                                                                                2                      Accused Product to Defendant Costco Are Insufficient as a
                                                                                                                       Matter of Law
                                                                                                3

                                                                                                4         The Complaint relies on allegations based solely “on information and belief”
                                                                                                5   without any factual basis to allege that SCDC sells the accused products. The
                                                                                                6   Complaint contains the following such allegations:
                                                                                                7             On information and belief, SCDC … has sold infringing products
                                                                                                8                to Costco. Complaint, Dkt. No. 1, ¶5.
                                                                                                9             On information and belief, SCDC regularly and continuously
                                                                                               10                transacts business in the District, including by … selling the
                                                                                                                 infringing products. On information and belief, SCDC … sells
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                                                                                                                 the infringing products to Costco, which are then sold to
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                                                                                               13                customers in this District through Costco’s retail locations.
                                                                                               14                Complaint, Dkt. No. 1, ¶11.
                                                                                               15             On information and belief, SCDC … sells the accused products
                                                                                               16                to Costco. Complaint, Dkt. No. 1, ¶37.
                                                                                               17         The above allegations are insufficient as a matter of law because a patent
                                                                                               18   plaintiff must plead facts sufficient to draw the reasonable inference that the accused
                                                                                               19   product was actually made, used, sold, offered for sale, or imported by the accused
                                                                                               20   infringer. See Iqbal, 556 U.S. at 678; 35 U.S.C. § 271(a). Allegations based solely on
                                                                                               21   “information and belief” without any factual basis are insufficient to survive a motion
                                                                                               22   to dismiss. See, e.g., Vivendi SA v. T-Mobile USA Inc., 586 F.3d 689, 694 (9th Cir.
                                                                                               23   2009) (claims for relief based on information and belief without sufficient factual
                                                                                               24   support implausible); Tarantino v. Gawker Media, LLC, No. 14-cv-00603, 2014 WL
                                                                                               25   2434647, at *5 n.4 (C.D. Cal. Apr. 22, 2014) (the infringement allegations “are based
                                                                                               26   on information and belief, and such allegations are insufficient as a matter of law”);
                                                                                               27   Simonya v. Ally Fin. Inc., No. 12-cv-08495, 2013 WL 45453, at *2 (C.D. Cal. Jan. 3,
                                                                                               28   2013) (“factual allegations . . . based on ‘information and belief’ and contain[ing]
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                                                                                                1   nothing more than a rote recitation of the required elements of each respective
                                                                                                2   claim . . . fall well short of the requirements set forth in Iqbal”).
                                                                                                3          Taylor Made alleges entirely on “information and belief” that SCDC sells the
                                                                                                4   accused products to Costco. Complaint, Dkt. No. 1, ¶5. It does not provide any
                                                                                                5   specific facts in support of the allegation, and thus fails to identify any plausible basis
                                                                                                6   for alleging SCDC sells the accused products to Costco. Indeed, there is nothing in
                                                                                                7   the Complaint to even suggest that SCDC could be selling the accused product to
                                                                                                8   Costco. To the contrary, the Complaint indicates that SCDC is doing business under
                                                                                                9   the name “Indi Golf®” — not “Kirkland Signature®,” the brand name of the accused
                                                                                               10   products. Complaint, Dkt. No. 1, ¶34. Taylor Made’s allegations of sales by SCDC
                                                                                                    to Costco thus fall well short of the requirements set forth in Twombly/Iqbal.
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                                                                                                           In fact, as provided by the sworn Declaration of Robert Lang, SCDC “has not
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                                                                                               13   sold, and does not sell anything to Costco”; “has not offered to sell, and does not
                                                                                               14   offer to sell anything to Costco”; and “has not had, and does not have any contracts
                                                                                               15   with Costco.” Lang Declaration ¶¶6–8. As Mr. Lang also confirms, SCDC has its
                                                                                               16   own registered trademark, Indi Golf®, and sells “Indi Golf®”-branded wedges and
                                                                                               17   putters. Id., ¶¶4, 15.
                                                                                               18          Accordingly, Taylor Made’s allegations that SCDC sells the accused products
                                                                                               19   to Costco cannot be the basis for any of its claims of patent infringement. Insofar as
                                                                                               20   Taylor Made’s claims of patent infringement depend on allegations of sales by SCDC
                                                                                               21   of the accused products, they must be dismissed.
                                                                                               22                 3.     Allegations “On Information and Belief” that SCDC Imports
                                                                                               23                        the Accused Products for Defendant Costco Are Insufficient
                                                                                                                         as a Matter of Law
                                                                                               24

                                                                                               25          Similarly, the Complaint relies on allegations based solely “on information and
                                                                                               26   belief” without any factual basis to allege that SCDC imports the accused products.
                                                                                               27   Such allegations include the following:
                                                                                               28
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                                                                                                1          On information and belief, SCDC has … imported infringing
                                                                                                2             products into, the United States…. Complaint, Dkt. No. 1, ¶5.
                                                                                                3          On information and belief, the accused products are … imported
                                                                                                4             into the United States by or at the direction of SCDC and/or Costco.
                                                                                                5             Complaint, Dkt. No. 1, ¶37.
                                                                                                6         As noted above, allegations of patent infringement based solely on
                                                                                                7   “information and belief” without any factual basis are insufficient to survive a motion
                                                                                                8   to dismiss. Iqbal, 556 U.S. at 678; 35 U.S.C. § 271(a); see, e.g., Vivendi SA, 586 F.3d
                                                                                                9   at 694; Tarantino, 2014 WL 2434647, at *6 n.4; Simonya, 2013 WL 45453, at *2.
                                                                                               10         Taylor Made’s allegations that SCDC imports the accused products on behalf
                                                                                                    of Costco are based solely on “information and belief.” Taylor Made does not provide
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                                                                                                    any specific allegations of fact in support of the allegation, and thus fails to identify
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                                                                                               13   any plausible basis for alleging SCDC imports the accused products.
                                                                                               14         In fact, as provided by the sworn Declaration of Robert Lang, “SCDC has not
                                                                                               15   imported, and does not import Kirkland Signature® golf irons, including the golf irons
                                                                                               16   that are accused of patent infringement in this litigation.” Lang Declaration ¶10.
                                                                                               17         Accordingly, Taylor Made’s allegations that SCDC imports the accused
                                                                                               18   products cannot be the basis for any of its claims of patent infringement. Insofar as
                                                                                               19   Taylor Made’s allegations that SCDC imports the accused products for Costco are
                                                                                               20   the basis for any of its claims of patent infringement, such claims must be dismissed.
                                                                                               21                4.     Allegations that SCDC Manufactures the Accused Products
                                                                                               22                       Are Implausible and Cannot be Pled with Sufficient
                                                                                                                        Particularity
                                                                                               23

                                                                                               24         The factual allegations in the Complaint do not support a plausible inference
                                                                                               25   that SCDC manufactures the accused products. As explained above, a plaintiff must
                                                                                               26   plead sufficient factual allegations to show it is plausibly entitled to relief. Iqbal, 556
                                                                                               27   U.S. at 678. To meet the plausibility standard, a plaintiff must plead “factual content
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                                                                                                1   that allows the court to draw the reasonable inference that the defendant is liable for
                                                                                                2   the misconduct alleged.” Id.
                                                                                                3         The only specifically identified “act” pertaining to SCDC’s alleged
                                                                                                4   manufacturing of the accused products is a “previous” listing of the accused products
                                                                                                5   on the United States Golf Association (the “USGA”) “conforming clubs list” that
                                                                                                6   identified “Indi Golf” as the “manufacturer.” Complaint, Dkt. No. 1, ¶36 (“Costco
                                                                                                7   contracted with Defendant SCDC to design and manufacture the accused products.
                                                                                                8   The accused products were previously listed on the [USGA] conforming clubs list,
                                                                                                9   which identifies clubs that USGA certifies as meeting the rules of golf and identifies
                                                                                               10   the manufacturer of the club. The listing of the accused products on the conforming
                                                                                                    list stated that the manufacturer was ‘Indi Golf.’”) Notably, Taylor Made did not
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                                                                                                    attach a copy of or provide a link to this “previous listing” in its Complaint. Taylor
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                                                                                               13   Made nonetheless relies entirely on this “previous listing” as the basis for its
                                                                                               14   allegations that SCDC manufactures the accused products.
                                                                                               15         As Mr. Lang’s declaration confirms, “Indi Golf” was listed in the
                                                                                               16   “manufacturer” field in the USGA’s Informational Club Database (“Database”) for
                                                                                               17   Kirkland Signature® irons for around two months in late 2022. Lang Declaration ¶21.
                                                                                               18   However, this listing was in error and was corrected as of January 9, 2023 – almost
                                                                                               19   a year before the accused products were alleged to be sold and over a year before
                                                                                               20   Taylor Made filed the Complaint. Id.
                                                                                               21         The Database upon which Taylor Made appears to base its infringement
                                                                                               22   allegations does identify SCDC in the “manufacturer” field for an unaccused design
                                                                                               23   of Kirkland Signature® irons that was not and is not being sold — even though SCDC
                                                                                               24   does not manufacture the irons. Id. ¶19. As Mr. Lang explains, the purpose of the
                                                                                               25   Database is to allow people to search by club name to determine whether particular
                                                                                               26   clubs conform to the Rules of Golf. Id. ¶¶16–17. The Database does not necessarily
                                                                                               27   identify the manufacturer, though. If the submission to the Database does not identify
                                                                                               28   a manufacturer, the Database will list the submitter as the manufacturer. Id. ¶18.
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                                                                                                1         In any event, neither SCDC nor Indi Golf® are now or were, at the time of
                                                                                                2   filing of the Complaint, listed in the “manufacturer” field in the Database for the
                                                                                                3   accused Kirkland Signature® irons. Id. ¶¶19–21.
                                                                                                4         Taylor Made’s allegation that SCDC is the manufacturer of the accused
                                                                                                5   product thus relies completely on an early and dubious identification of SCDC as the
                                                                                                6   manufacturer that was promptly removed. Taylor Made’s obtuse pleading of such
                                                                                                7   alleged facts does not support a reasonable inference that SCDC manufactures the
                                                                                                8   accused products and thus does not satisfy the Twombly/Iqbal standard for pleading
                                                                                                9   patent infringement.
                                                                                               10         The Complaint includes allegations that SCDC both “designed and
                                                                                                    manufactures the accused products.” Complaint, Dkt No. 1, ¶37. Taylor Made’s
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                                                                                                    statements alleging “design” are always accompanied by statements alleging
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                                                                                               13   “manufacture.” See id., ¶¶11, 36, 37. Mere “design” of an allegedly infringing
                                                                                               14   product is not an act of infringement under the Patent Act, which provides a list of
                                                                                               15   acts that constitute patent infringement. 35 U.S.C. §271(a) (“whoever without
                                                                                               16   authority makes, uses, offers to sell, or sells any patented invention, within the United
                                                                                               17   States or imports into the United States any patented invention during the term of the
                                                                                               18   patent therefor, infringes the patent”); see, e.g., Uni-Sys., LLC v. U.S. Tennis Ass’n,
                                                                                               19   Inc., 350 F. Supp. 3d 143, 163 (E.D.N.Y. 2018) (“a mere allegation of title and role
                                                                                               20   [as designer], without facts that describe defendants' actions in making, selling or
                                                                                               21   using an infringing patent will not suffice. The mere drafting of designs for the
                                                                                               22   accused [products] would be insufficient to sustain a claim [of patent infringement]”).
                                                                                               23   Thus, the pleading that SCDC designed the accused products does not state a claim
                                                                                               24   for patent infringement.
                                                                                               25         It is undisputed that “SCDC is a consulting firm with expertise in product
                                                                                               26   design.” Lang Declaration ¶3. SCDC also admits that it produced computer aided
                                                                                               27   design (CAD) drawings for the golf irons accused of patent infringement in this
                                                                                               28   litigation. Lang Declaration ¶14. But designing is not sufficient to constitute patent
                                                                                                                                                             MEMO ISO MOTION TO DISMISS FOR
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                                                                                                1   infringement absent actions in making, selling, using, or importing an infringing
                                                                                                2   product. See Uni-Sys., 350 F. Supp. 3d at 153. As discussed above and as Mr. Lang’s
                                                                                                3   declaration confirms, SCDC does not sell, import, or manufacture the allegedly
                                                                                                4   infringing goods. Lang Declaration ¶¶6–10. Taylor Made therefore does not and
                                                                                                5   cannot plead facts sufficient to plausibly support a conclusion that SCDC has
                                                                                                6   committed the alleged acts of infringement.
                                                                                                7         The only other alleged facts in the Complaint pertaining to SCDC are citations
                                                                                                8   to unreliable internet “chatter” or “talk.” The Complaint cites a comment to a post on
                                                                                                9   Reddit, a social news website and forum,3 stating that the contributor “read on Golf
                                                                                               10   Spy that the manufacturer is a company named Indi Golf.” Complaint, Dkt. No. 1,
                                                                                                    ¶51. Neither Taylor Made nor the quoted Reddit contributor cites any Golf Spy post
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                                                                                                    that says Indi Golf® is the manufacturer.4 Furthermore, Taylor Made fails to mention
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                                                                                               13   that the quoted comment received two replies stating that Indi Golf® is not a
                                                                                               14   manufacturer. Makinde Declaration ¶3, Exhibit 2. (Reddit user gabbagoolgolf2
                                                                                               15   comments, “Indi golf is a design firm not a manufacturer.” Reddit user skycakes10
                                                                                               16   comments, “‘Designer not manufacturer’ means it’s probably the opposite. Indi
                                                                                               17   designs their putters and wedges and someone else makes them ….”). Taylor Made’s
                                                                                               18   cited Reddit comment is thus facially uncredible and unpersuasive. Taylor Made’s
                                                                                               19   pleading of such contradictory Reddit comments does not constitute factual
                                                                                               20   allegations sufficient to infer that SCDC manufactures the allegedly infringing
                                                                                               21   products.
                                                                                               22         It makes no sense to allege that SCDC manufactures the accused products.
                                                                                               23   SCDC is a consulting firm with expertise in product design, not a manufacturing
                                                                                               24   company. Lang Declaration ¶¶3, 13, 14. SCDC sells golf clubs under the Indi Golf®
                                                                                               25

                                                                                               26   3
                                                                                                      “Reddit is a social news website and forum where content is socially curated and
                                                                                               27   promoted by site members through voting.” Makinde Declaration ¶2, Exhibit 1.
                                                                                                    4
                                                                                                      The Golf Spy article that Taylor Made references in ¶51 of the Complaint does not
                                                                                               28   mention SCDC or Indi Golf®.
                                                                                                                                                           MEMO ISO MOTION TO DISMISS FOR
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                                                                                                1   brand, but it does not manufacture them, and it sells only putters and wedges — not
                                                                                                2   irons. Lang Declaration ¶¶4, 15. The accused products are a seven piece set of irons.
                                                                                                3   Complaint, Dkt. No. 1, ¶34. There is no plausible basis to infer that SCDC is
                                                                                                4   manufacturing a full set of Kirkland Signature® golf irons for Costco. Lang
                                                                                                5   Declaration ¶¶6–10.
                                                                                                6          In view of the foregoing, Taylor Made has not pled sufficient facts to allow the
                                                                                                7   Court to reasonably infer that SCDC manufactures the accused products.
                                                                                                8   Accordingly, insofar as Taylor Made’s allegations that SCDC manufactures the
                                                                                                9   accused products for Costco are the basis for any of Taylor Made’s claim of patent
                                                                                               10   infringement, such claims must be dismissed.
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                                                                                               11          C.    Taylor Made’s Complaint Fails to Plead a Claim of False
                                                                                                                 Advertising by SCDC
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                                                                                               13          The Complaint alleges that SCDC engaged in false advertising through
                                                                                               14   statements made on Costco’s website. Specifically, Taylor Made alleges that
                                                                                               15   Costco’s website states that the accused products include an “injected urethane insert”
                                                                                               16   when the accused products “do not contain ‘an injected urethane insert.’” Complaint,
                                                                                               17   Dkt. No. 1, ¶¶47–48. Taylor Made further alleges that this alleged false advertising
                                                                                               18   is attributable to SCDC because “Costco’s website for the accused products notes
                                                                                               19   that these statements are provided ‘by the manufacturer.’” Complaint, Dkt. No. 1,
                                                                                               20   ¶49.
                                                                                               21          Taylor Made’s claim of false advertising against SCDC relies entirely on its
                                                                                               22   allegation that SCDC is the manufacturer of the accused product. However, as
                                                                                               23   established above, Taylor Made has failed to plead sufficient facts to support a
                                                                                               24   reasonable inference that the SCDC is the manufacturer of the accused products.
                                                                                               25          Since Taylor Made has failed to sufficiently plead that SCDC is the
                                                                                               26   manufacturer of the accused products, the statements on Costco’s website cannot be
                                                                                               27   attributed to SCDC. Taylor Made has therefore not pled facts sufficient to infer that
                                                                                               28
                                                                                                                                                            MEMO ISO MOTION TO DISMISS FOR
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                                                                                                1   SCDC made false statements of fact in a commercial advertisement about its own
                                                                                                2   product, and thus fails to plead a prima facie case of false advertising against SCDC.
                                                                                                3          Accordingly, Taylor Made’s claim for false advertising must be dismissed.
                                                                                                4   III.   CONCLUSION
                                                                                                5
                                                                                                           As explained by the Supreme Court in its Iqbal decision, Fed. R. Civ. P. 8 is a
                                                                                                6
                                                                                                    more liberal pleading standard but it “does not unlock the doors of discovery for a
                                                                                                7
                                                                                                    plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at 678–79. A
                                                                                                8
                                                                                                    plaintiff “must satisfy the pleading requirements of Rule 8 before the discovery stage,
                                                                                                9
                                                                                                    not after it.” Mujica v. AirScan Inc., 771 F.3d 580, 593 n.7 (9th Cir. 2014) (citing
                                                                                               10
                                                                                                    Iqbal, 556 U.S. at 678–79; Twombly, 550 U.S. at 559). Because Taylor Made’s
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                                                                                                    Complaint fails to plead any plausible facts to support a claim of patent infringement
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                                                                                                    or false advertising with respect to SCDC, its claims against SCDC should be
                                                                                               13
                                                                                                    dismissed.
                                                                                               14
                                                                                                           For the foregoing reasons, SCDC respectfully requests that the Court dismiss
                                                                                               15
                                                                                                    all of the claims of patent infringement and the claim of false advertising with respect
                                                                                               16
                                                                                                    to SCDC.
                                                                                               17                                    Respectfully submitted,
                                                                                               18
                                                                                                    Dated: March 28, 2024            By: /s/ Frank L. Bernstein
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                                                                                               20                                    SQUIRE PATTON BOGGS (US) LLP
                                                                                                                                     Frank L. Bernstein (SBN: 189504)
                                                                                               21                                    frank.bernstein@squirepb.com
                                                                                               22                                    Tamara D. Fraizer (SBN: 215942)
                                                                                                                                     tamara.fraizer@squirepb.com
                                                                                               23                                    1841 Page Mill Road, Suite 150
                                                                                               24                                    Palo Alto, CA 94304
                                                                                                                                     Telephone: (650) 856-6500
                                                                                               25                                    Facsimile: (650) 843-8777
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                                                                                                1                               Hannah Makinde (SBN: 307907)
                                                                                                2                               hannah.makinde@squirepb.com
                                                                                                                                555 South Flower Street, 31st Floor
                                                                                                3                               Los Angeles, CA 90071
                                                                                                4                               Telephone: (213) 624-2500
                                                                                                                                Facsimile: (213) 623-4581
                                                                                                5

                                                                                                6                               Christopher Lorenzo Lewis
                                                                                                                                (pro hac vice pending – OH SBN: 100158)
                                                                                                7                               chris.lewis@squirepb.com
                                                                                                8                               1000 Key Tower, 127 Public Square
                                                                                                                                Cleveland, OH 44114
                                                                                                9                               Telephone: (216) 479-8500
                                                                                               10                               Facsimile: (216) 479-8780
SQUIRE PATTON BOGGS (US) LLP




                                                                                               11                               Attorneys for Defendant Southern California
                                                                                                                                Design Company
                               1841 Page Mill Road, Suite 150




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                                                                Palo Alto, California 94304




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